      Case 2:15-cr-00144-SMJ      ECF No. 174    filed 01/25/16   PageID.654 Page 1 of 1




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 6                         UNITED STATES DISTRICT COURT
 7                       EASTERN DISTRICT OF WASHINGTON
 8
     UNITED STATES OF AMERICA,                        No. 2:15-CR-144-SMJ-15
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10                        Plaintiff,                  ORDER GRANTING UNOPPOSED
11                                                    MOTION TO MODIFY
     vs.
12
13   NICHOLE M. GOURNEAU,
14                        Defendant.
15
16         Before the Court is the Defendant’s Motion to Modify Order Setting
17   Conditions of Release. ECF No. 173. Defendant seeks permission to travel to
18   Lewiston, Idaho, on January 30, 2016, for a funeral service. Neither the United
19   States nor the U.S. Probation Office object to Defendant’s request. Accordingly,
20         IT IS ORDERED the Defendant’s Motion to Modify Order Setting
21   Conditions of Release, ECF No. 173, is GRANTED. Defendant shall be allowed
22   to travel to Lewiston, Idaho, on January 30, 2016, to attend a funeral, and shall return
23   to the Eastern District of Washington no later than 7:00 p.m. on January 30, 2016.
24         DATED January 25, 2016.
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                                   _____________________________________
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                                             JOHN T. RODGERS
27                                  UNITED STATES MAGISTRATE JUDGE
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     ORDER - 1
